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                   IN THE UNITED STATES DISTRICT COURT
                FOR THE SOUTHERN DISTRICT OF WEST VIRGINIA
                           CHARLESTON DIVISION

B.P.J., by her next friend and mother,
HEATHER JACKSON,
                                     Plaintiff,
      v.
WEST VIRGINIA STATE BOARD OF
EDUCATION, HARRISON COUNTY BOARD
OF EDUCATION, WEST VIRGINIA                       Case No. 2:21-cv-00316
SECONDARY SCHOOL ACTIVITIES
COMMISSION, W. CLAYTON BURCH in his
official capacity as State Superintendent,        Hon. Joseph R. Goodwin
DORA STUTLER in her official capacity as
Harrison County Superintendent, and THE
STATE OF WEST VIRGINIA,
                                  Defendants,
      and
LAINEY ARMISTEAD,
                        Defendant-Intervenor.

 DEFENDANTS’ RESPONSE TO PLAINTIFF’S MOTION FOR A STAY PENDING APPEAL OF
                         JANUARY 5, 2023 ORDERS
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                                   INTRODUCTION
      This Court recently ruled in a comprehensive opinion that West Virginia Code

§ 18-2-25d (“Sports Act”) is constitutionally sound and consistent with Title IX’s goals

of promoting educational opportunities for women and girls. Mem. Op. and Order

(Op.) 22 (Doc. 512). In doing so, this Court recognized that this case is not about

“B.P.J.’s existence as a transgender girl.” Op. 10. Instead, this Court considered

whether West Virginia may lawfully maintain sex-separated sports based on the

Code’s definition of “biological sex,” which looks to “physical form” based on

“reproductive biology and genetics at birth.” W. Va. Code § 18-2-25d(b)(1). And given

that biology is the reason for separate men’s and women’s teams, it found the Sports

Act to be lawful.

      B.P.J. now asks this Court not for a stay but an ongoing injunction, suspending

the Sports Act’s application to B.P.J. pending appeal. B.P.J. ’s Motion asserts that

B.P.J. “is likely to succeed on the merits on appeal,” that an injunction is necessary

to preserve the status quo, and that the equities “strongly favor” an injunction

because “no harm will befall anyone if B.P.J. is permitted to participate in school

sports consistent with her gender identity.” Pl.’s Mot. For a Stay Pending Appeal of

Jan. 5, 2023 Orders (Mot. To Stay) 10–11 (Doc. 515). 1 These arguments, however, fail

under the clearly applicable legal standard.

      In starting with the merits, everyone—including B.P.J.—agrees that separate

men’s and women’s teams exist to accommodate the average physiological differences

between men and women. Still, B.P.J. argues that the state should designate athletic

teams only according to gender identity even though gender identity does not affect

a person’s physiology. This argument cannot succeed. It is the biological classification

and its effect on athletic performance – not gender identity – that motivates and


1 This brief references page numbers according to a document’s original pagination

or bates stamp where it differs from the ECF stamp.

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justifies the existence of girls’ teams.

       Far from preserving the status quo, B.P.J. seeks to upend it. B.P.J. is “seeking

not merely a stay of [this Court’s] judgment, but an injunction against the

enforcement of a presumptively valid state statute.” Brown v. Gilmore, 533 U.S. 1301,

1303 (2001) (Rehnquist, C.J., in chambers). And Supreme Court and Fourth Circuit

caselaw explicitly instruct that when a state acts to protect the health and welfare of

its citizenry, it is the state’s actions that set the status quo, not a federal court’s

intervention. This, too, dooms B.P.J.’s request since B.P.J. gets the relevant stay

standard wrong.

       Finally, the equities and public interest favor Defendants. West Virginia’s

statute separates males and females such that female competition is protected,

allowing females who desire to compete in sports involving competitive skill or

contact to compete fairly and safely against other biological females only. Thus, West

Virginia Code § 18-5-25d helps keep biological females safe in contact sports and

preserves a level playing field, whether in terms of where females finish in

competition against each other or any other sports-related opportunity. Ultimately,

this Court must – and did – consider the public’s interest, not just the alleged harms

to one individual. That public interest is manifest in the statute, which has passed

constitutional muster. And it would now be inequitable to require Defendants to

suspend application of the Sports Act against only B.P.J. while they are enforcing it

against all others.

       B.P.J.’s arguments cannot meet the heavy burden necessary for an injunction.

This Court should deny the motion.

                                      BACKGROUND

       In April 2021, West Virginia passed H.B. 3293, codified as West Virginia Code

§ 18-2-25d, which requires public schools to designate sports teams “based on



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biological sex” and prevents biological male students from intruding into female

sports, specifically competitive or contact sports. W. Va. Code § 18-2-25d(c)(1).

Lawmakers passed the Sports Act to “promote equal athletic opportunities for the

female sex” based on the “inherent differences” between the sexes, aware of

occurrences of males competing against (and beating) female athletes in women’s

track events in other states. Id. at (a)(1)–(5); see Op. 9, 15.

       Shortly before the Sports Act became effective, B.P.J. brought the present

litigation. B.P.J. is a 12-year-old biological male who identifies as female. See Op. 1,

17–18; Mot. to Stay 3. B.P.J. takes hormones in conjunction with puberty blockers

that will (according to B.P.J.) allow B.P.J. to “develop physiological characteristics

consistent with a typical female puberty.” Mot. to Stay 3. Not all biological males who

identify as female elect to take medications to suppress their endogenous hormone

production. Some “choose to only transition socially, rather than medically.” Op. 18.

“[T]he social, medical, and physical transition of each transgender person is unique.”

Id. And “there is much debate over whether and to what extent hormone therapies

after puberty can reduce a transgender girl’s athletic advantage over cisgender girls.”

Id.

       In July 2021, this Court issued a preliminary injunction based on a preliminary

and incomplete record, enjoining the Sports Act’s application to B.P.J., and allowing

B.P.J. to compete in girls’ sports as this case proceeded. For three seasons, B.P.J.

competed on the Bridgeport middle school’s girls’ cross-country and track and field

teams.

       For three seasons, B.P.J. also displaced female competitors. In doing so, B.P.J.

sometimes placed near the bottom of the rankings, while in other competitions B.P.J.

beat dozens of biological female competitors. And though it “may not seem like a big

deal to some, placements matter to athletes.” App. to Def.-Intervenor’s Mot. for

Summ. J. (App.) 61 (¶ 17) (Doc. 286-1); see also id. at 7 (¶¶ 40–43). For example,


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during the 2022 cross country and track seasons, B.P.J. sometimes placed last or near

the bottom of the rankings, while in other competitions B.P.J. beat dozens of

competitors. At one track and field invitational, “B.P.J. placed 15 out of 25

participants in discus.” Decl. of Heather Jackson ¶ 7 (Doc. 515-2). At another B.P.J.

placed “35 out of 53 participants in discus.” Id. At one cross-country invitational

during the fall, “B.P.J. placed 43 out of 53 participants,” and at another “B.P.J. placed

38 out of 46 participants.” Id. ¶ 8.

      On January 5, 2023, this Court granted summary judgment to most

Defendants after it received a more complete record than at the preliminary-

injunction stage. 2 Based on that complete record, including certain important

concessions by B.P.J., this Court observed—as B.P.J. concedes—that average

circulating testosterone levels give males a biological advantage in athletic

performance over their female counterparts. Op. 17. These “inherent physical

differences between the sexes” make “biological males [] not similarly situated to

biological females for the purposes of athletics.” Id. at 17, 22. The fact that an

individual biological male—whether due to naturally low testosterone or medical

interventions—may lack typical levels of circulating testosterone does not negate the

State’s substantial interest in advancing equitable athletic opportunities for females

by designating sports teams according to sex. Id. at 17, 19. This Court concluded that

the Sports Act is constitutional and consistent with Title IX, dissolved the

preliminary injunction, and granted summary judgment. Id. at 19, 22.

      B.P.J. now seeks an injunction pending appeal so that B.P.J. can try out for

girls’ spring track. Mot. to Stay 1.




2 The West Virginia Secondary Schools Activities Commission’s summary judgment

motion was denied. Summary judgment was granted to the remaining Defendants
and Defendant-Intervenor Lainey Armistead.

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                                  LEGAL STANDARD

      Federal Rule of Civil Procedure 62(d) allows courts to “restore, or grant an

injunction” pending appeal. Injunctive relief is “an extraordinary remedy that may

only be awarded upon a clear showing that the plaintiff is entitled to such relief,”

Winter v. Nat. Res. Def. Council, Inc., 555 U.S. 7, 22 (2008) (emphasis added),

particularly when a party is “asking for an injunction against enforcement of a

presumptively constitutional state legislative act.” Respect Maine PAC v. McKee, 562

U.S. 996, 996 (2010). Indeed, this type of request “demands a significantly higher

justification than a request for a stay.” Id. (cleaned up)

      A party seeking the injunction “must establish that he is likely to succeed on

the merits, that he is likely to suffer irreparable harm in the absence of … relief, that

the balance of equities tips in his favor, and that an injunction is in the public

interest.” Winter, 555 U.S. at 20. “And all four requirements must be satisfied.” Real

Truth About Obama, Inc. v. Fed. Election Comm’n, 575 F.3d 342, 346 (4th Cir. 2009)

(citing Winter, 555 U.S. at 20), vacated on other grounds, 559 U.S. 1089 (2010). 3
      Here, the equities merge with the public interest. Nken v. Holder, 556 U.S. 418,

435 (2009) (“harm to the opposing party and weighing the public interest … factors

merge when the Government is the opposing party”). And “[i]n exercising their sound

discretion, courts of equity should pay particular regard for the public consequences

in employing the extraordinary remedy of injunction.” Winter, 555 U.S. at 24.

                                      ARGUMENT
I.    B.P.J. is not likely to prevail on the merits.
      B.P.J.’s motion fails for at least three reasons—most plainly because B.P.J. is

not likely to succeed on the merits of this case.


3 In its subsequent opinion on remand, the Fourth Circuit reaffirmed the injunction

standards discussed in the prior opinion. Real Truth About Obama, Inc. v. FEC, 607
F.3d 355, 355 (4th Cir. 2010).

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         B.P.J. must show a likelihood of success on the merits, not just a
         “substantial case.”
       To begin, B.P.J. incorrectly asserts that a plaintiff need only show a “substan-

tial case on the merits” to obtain an injunction. Mot. to Stay 5–6. B.P.J. relies on a

now-superseded standard that traces back to Long v. Robinson, 432 F.2d 977, 979

(1970). According to Long and its progeny, courts considering stays pending appeal

may balance all the factors to see if the equities make up for a less-than-meritorious

case. See id. at 981; Ohio Valley Env’t Coal., Inc. v. U.S. Army Corps of Eng’rs, 890 F.

Supp. 2d 688, 692 (S.D.W. Va. 2012) (“the factors are balanced, such that a stronger

showing on some of these prongs can make up for a weaker showing on others”).

Under this line of cases, a party needed to show only a “substantial case on the

merits,” or that they “raise difficult and serious questions,” if the other three factors

weigh in their favor. Peck v. Upshur Cnty. Bd. of Educ., 941 F. Supp. 1478, 1481 (S.D.

W. Va. 1996) (quoting Goldstein v. Miller, 488 F. Supp. 156, 172 (D. Md. 1980)).

Indeed, these cases suggest that a party could obtain relief even if the “chance of

prevailing … is only fifty percent or less” when the “balance of equities” weighs in

their favor. Goldstein, 488 F. Supp. at 172.

       But as the Fourth Circuit has explained, this standard “now stands in fatal

tension with the Supreme Court’s 2008 decision in Winter.” Real Truth, 575 F.3d at

346. Winter repudiated the balancing approach that courts like the Fourth Circuit

used to apply to preliminary injunction requests. Id. at 347. Now, “all four

requirements must be satisfied.” Id. at 346. Since preliminary injunctions are

analogous to injunctions pending appeal, B.P.J. must “clearly demonstrate that

[B.P.J.] will likely succeed on the merits,” which is a “far stricter” standard than the

one on which B.P.J. relies. Id. at 347 (explaining that “a grave or serious question for

litigation” is insufficient for injunctive relief).




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      To be sure, district courts disagree on whether and to what extent Real Truth

altered the standard for relief pending appeal because the case only considered

preliminary injunctions. See Kadel v. Folwell, No. 1:19-cv-272, 2022 WL 11166311, at

*2 (M.D.N.C. Oct. 19, 2022) (collecting cases); Does 1-5 v. Cooper, No. 1:13-cv-711,

2016 WL 10587195, at *1 (M.D.N.C. Mar. 2, 2016) (“the precise standard in the

Fourth Circuit for issuing a stay pending appeal is somewhat unclear”). But Real

Truth provides the better, more logically-consistent approach. The Fourth Circuit has

always demanded a stronger showing to justify relief pending appeal than it has for

preliminary injunctions. Long, 432 F.2d at 979; Van Wagner v. Atlas Tri-State SPE,

LLC, No. 3:11-cv-75, 2011 WL 10621664, at *5 (N.D.W. Va. Nov. 1, 2011) (“[A]n

applicant for a motion to stay will have more difficulty establishing the likelihood of

success on the merits factor.” (cleaned up)); Peck, 941 F. Supp. at 1481 (party seeking

injunction pending appeal bears a “significantly heavier burden … than they

assumed at the preliminary injunction stage”).

      That approach makes sense. A preliminary injunction asks for relief while the

facts and arguments are still developing. After this Court has finally and dispositively

considered the issues, it must be harder, not easier, to obtain the same relief. Peck,

941 F. Supp. at 1481 (“This heavier burden is, of course, due to the fact that the Court

has issued a decision on the merits[.]”). And here, this Court has considered all the

evidence and arguments at summary judgment.

      Even if this court wishes to balance the factors, though, B.P.J. “must make at

least as strong a showing on the first prong (likelihood of success)—and certainly not

a lesser showing—as compared to a party moving for a preliminary injunction.” See

Ohio Valley, 890 F. Supp. 2d at 692 (concluding Real Truth “does not apply directly

to stays” but is still relevant to the analysis). Thus, it’s not enough to “merely show

serious questions going to the merits” or a substantial case. Id. Instead, B.P.J. must

show a likelihood of success on the merits during appeal.


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        B.P.J.’s argument is inherently contradictory and therefore cannot
        succeed on the merits.
      In between B.P.J. and the relief that B.P.J. seeks lies a conundrum. The whole

reason—indeed, the only constitutionally permissible reason—for designating sports

teams by sex is to accommodate the average physiological differences between the

sexes, which are rooted in biology. This gives biological females an opportunity to

compete on equal footing. So how can it be illegal or unconstitutional, as B.P.J.

argues, to separate sports teams based on biology?

      This Court correctly recognized that B.P.J.’s argument is internally inconsis-

tent. B.P.J. agrees that laws and policies designating athletic teams by sex are

generally lawful because it would not be fair for (the vast majority of) biological males

to participate in women’s sports because of their (on average) physiological

advantages. Yet B.P.J. simultaneously argues that a biology-based classification is

unlawful. Indeed, B.P.J. contends that gender identity alone should control whether

a person is eligible to participate in male sports or female sports, even though gender

identity denotes nothing about a person’s physical characteristics or relative athletic

abilities. While B.P.J. makes arguments about the effects of puberty blockers and

medical interventions, B.P.J. does not argue that biological males with naturally low

testosterone levels, or those who lack athleticism, should be allowed to participate on

women’s sports teams. As this Court has recognized, B.P.J.’s positions are

irreconcilable. Op. 19.

      In short, B.P.J. advocates for a classification (gender identity) that has no

connection to athletic performance. As this Court recognized, B.P.J.’s theory is that

“transgender girls are similarly situated to cisgender girls for purposes of athletics at

the moment they verbalize their transgender status, regardless of their hormone

levels.” Op. 19. B.P.J. further argues that the state’s preferred classification (biology),

which is an accurate proxy for average athletic performance, is invalid.



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       This cat’s cradle of contradictions dooms B.P.J.’s case and, more acutely, this

particular motion. If designating sports teams based on sex is valid because of the

average physiological differences between males and females, it cannot be invalid

because it demarcates based on biology. And a sex classification that is validly applied

to males because they are biologically male must be valid when applied to B.P.J.

because B.P.J. is biologically male. See Op. 18. B.P.J.’s claim may be “novel” and

perhaps “difficult,” Mot. to Stay 5, but this Court properly rejected it as facially

illogical.

       B.P.J. pivots on the equal-protection claim by attempting to manipulate the

legal standard—arguing that this is an “as-applied” challenge that looks exclusively

at how the law affects B.P.J. But “classifying a lawsuit as facial or as-applied ... does

not speak at all to the substantive rule of law necessary to establish a constitutional

violation.” Bucklew v. Precythe, 139 S. Ct. 1112, 1127 (2019). If B.P.J. were correct,

and courts must decide “whether excluding B.P.J. in particular was substantially

related to an important governmental interest,” Mot. to Stay 8, every male with low

testosterone or poor athletic skills could mount an as-applied challenge to the Sports

Act.

       This Court faithfully followed binding Supreme Court and Fourth Circuit

precedent affirming that intermediate scrutiny does not require that a classification

be “capable of achieving its ultimate objective in every instance.” Tuan Anh Nguyen

v. I.N.S., 533 U.S. 53, 70 (2001). Instead, courts look at the classification itself. B.P.J.

fails to explain why B.P.J.’s rule doesn’t apply to other males who desire (perhaps

with good reason) to participate on women’s sports teams. See Clark v. Ariz.

Interscholastic Ass’n, 695 F.2d 1126 (9th Cir. 1982) (rejecting male’s challenge to

women’s-only volleyball team where school did not offer men’s team); Petrie v. Ill.

High Sch. Ass’n, 394 N.E.2d 855 (1979) (same). To grant B.P.J.’s motion would be to

effectively overrule these cases.


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      It follows that B.P.J.’s Title IX claim also fails. Title IX prohibits schools from

treating an “individual worse than others who are similarly situated.’” Grimm v.

Gloucester Cnty. Sch. Bd., 972 F.3d 586, 618 (4th Cir. 2020) (citation omitted). But

B.P.J.’s medical interventions do not make B.P.J. similarly situated to biological

females in the context of athletics. Otherwise, males with low testosterone or other

unique circumstances could make the same claim. And the fact that B.P.J. must take

puberty blockers to (allegedly) achieve the physiology of a girl proves that gender

identity alone does not make B.P.J. similarly situated to biological females either.

      Biology also explains why Grimm does not control the outcome here. Grimm

was based on privacy interests that are, according to Grimm, tied to a person’s gender

identity. But gender identity does not affect biology. Op. 22. And because sex-

separated sports are based on physical competitiveness rather than privacy interests,

a gender identity classification does not work in this context. That makes Grimm

inapposite.

      Furthermore, this Court’s ruling on summary judgment is supported by a

growing consensus that laws acknowledging biological differences in sports and other

areas of life comply with equal protection and Title IX. See Adams ex rel. Kasper v.

Sch. Bd. of St. Johns Cnty., No. 18-13592, 2022 WL 18003879, at *8 (11th Cir. Dec.

30, 2022) (finding bathrooms designated according to biological sex satisfied equal

protection and Title IX); West v. Radtke, 48 F.4th 836, 852 (7th Cir. 2022) (explaining

a “sex-based classification” exempting prisoner from “cross-sex strip searches” by

transgender prison guard is lawful); Neese v. Becerra, No. 2:21-cv-163, 2022 WL

16902425, at *11 (N.D. Tex. Nov. 11, 2022) (federal government’s “reinterpretation of

Title IX … imperils the very opportunities for women Title IX was designed to

promote and protect — categorically forcing biological women to compete against

biological men”).




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       B.P.J.’s merits argument is not sound, and therefore, B.P.J.’s request for an

injunction pending appeal must fail.

II.    B.P.J. seeks to alter the status quo, not preserve it.
       B.P.J. purports to ask for a “stay pending appeal to maintain the status quo.”

Mot. to Stay 5. But what B.P.J. actually requests is that this Court “restore … an

injunction,” prohibiting the enforcement of a law duly enacted by West Virginia’s

democratically elected Legislature. Fed. R. of Civ. P. 62(d).

       “An injunction and a stay have typically been understood to serve different

purposes.” Nken, 556 U.S. at 428. An injunction “is a means by which a court tells

someone what to do or not to do.” Id. Whereas “a stay operates upon the judicial

proceeding itself … by halting or postponing some portion of the proceeding, or by

temporarily divesting an order of enforceability.” Id. Though the two may share “some

functional overlap,” a stay generally “suspends judicial alteration of the status quo.”

Id. at 429 (cleaned up) (quoting Ohio Citizens for Resp. Energy, Inc. v. NRC, 479 U.S.

1312, 1313 (1986) (Scalia, J., in chambers)). But a federal court injunction “grants
judicial intervention,” thereby altering the status quo. Id.

       That is always the case when a federal court enjoins a duly enacted state law.

The Supreme Court recently reaffirmed this principle when it reinstated a state

election law that a lower court had enjoined during the Covid-19 pandemic. Andino

v. Middleton, 141 S. Ct. 9 (2020). States have primary responsibility for protecting
the health and safety of their citizens, particularly “in areas fraught with medical

and scientific uncertainties” like this one. Id. at 10 (Kavanaugh, J., concurring)

(citation omitted). “It follows that a State legislature’s decision” in these areas “should

not be subject to second-guessing by an ‘unelected federal judiciary’ which lacks the

background, competence, and expertise to assess public health and is not accountable

to the people.” Id.



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       Put succinctly, Andino instructs that “it is the state’s action—not any

intervening federal court decision—that establishes the status quo.” Wise v. Circosta,

978 F.3d 93, 98 (4th Cir. 2020) (en banc) (rejecting request to enjoin state election

procedures). So, “even if reasonable minds can disagree on the merits, an injunction

is still inappropriate here.” Id. at 103.

III.   The equities—merged with the public interest—weigh against B.P.J.
       B.P.J. asserts that the remaining factors favor an injunction because (a) an

injunction “harms no one,” (b) without one B.P.J. cannot participate in sports, and (c)

enjoining the law is necessary to respect B.P.J.’s identity. Mot. to Stay 1. For the

reasons already explained, these factors make little difference. Moreover, B.P.J.’s

arguments are wrong, and none of them favors an injunction in this case.

       B.P.J.’s request would lead to more inequities. If this Court reinstates an

injunction, what should schools say to the biological male whose gender identity

switches “back and forth”? App. 1097 (121:3–6). Or how should schools handle a

request from another biological male who identifies as female or a biological male
who has some other unique circumstance that makes the girls’ team a “better fit”?

There is no limiting principle that would justify excluding other males who desire to

participate on a girls’ team. Rather than promoting the public interest, an exception

would create more inequity. The public interest is better served by applying the law

consistently to everyone.
       Moreover, the Sports Act represents the state’s considered judgment about the

harms of allowing biological males to compete in women’s sports. After legislators

debated its pros and cons, they chose to protect fair play for biological females at all

public schools (secondary and higher education), whether it was seasoned collegiate

athletes like Lainey Armistead, or middle schoolers who are still developing their

motor skills. In other words, West Virginia chose to protect biological females no



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matter how prestigious or “important” the sporting event. It protects biological

females competing in their middle school turkey trot, biological females who do not

receive any accolades for their efforts, and even biological females competing for last

place. Indeed, girls “who are only average high school athletes ... would fare even

worse” than elite athletes if they were forced to compete against biological males.

Adams, 2022 WL 18003879, at *21 (Lagoa, J., concurring).

         Although B.P.J. disagrees with that judgment, B.P.J. wrongly asserts that the

harm is one-sided. Importantly, courts “should pay particular regard for the public

consequences in employing the extraordinary remedy of injunction.” Winter, 555 U.S.

at 24.

         Consider the biological females who have already lost to B.P.J. in competitions.

See, e.g., Mot. to Stay, Ex. A (Doc. 515-3). The Motion to Stay focuses only on how the

law affects one person (i.e. B.P.J.) and complains that it would “erase who she is.”

Mot. to Stay 9. But this Court should consider—indeed, must consider—the interest

of every biological female athlete who desires to compete in female-only competition.

“If males are permitted to displace females … even to the extent of one player … the

goal of equal participation by females in interscholastic athletics is set back, not

advanced.” Clark v. Ariz. Interscholastic Ass’n, 886 F.2d 1191, 1193 (9th Cir. 1989).

And biological females—no less than B.P.J.—“will experience their middle school

years only once during their life.” Doe v. Wood Cnty. Bd. of Educ., 888 F. Supp. 2d

771, 778 (S.D.W. Va. 2012). Their lives, interests, and dignity matter, too.

         Ironically, B.P.J. minimizes the importance of biological female-only

competitions to downplay the effects of B.P.J.’s participation. But placing 16th

instead of 15th directly impacts the girl who got bumped. “[It] may not seem like a

big deal to some, but placements matter to athletes.” App. 61 (¶ 17). They understand

that losing is a part of every sport, but they still want to earn their spot “fair and

square.” Id. Also, no one can say how B.P.J.’s finishes will change with continued


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participation on the girls’ team; the fact that B.P.J.’s past performances were not top-

tier results does not mean that, as B.P.J. becomes one of the older students on the

team and grows and matures, those results could change markedly. This is frequently

the case in middle school (and even high school) sports, when motivated young

athletes grow, train, and mature: they become the higher finishers and strongest

competitors. The fact that B.P.J. has not placed or won up to this point is no reason

to prevent enforcement of a law duly enacted nearly two years ago and now adjudged

constitutional. B.P.J.’s argument falls short of the “clear showing” necessary for

relief. Real Truth, 575 F.3d at 346.

      Indeed, even now there is an increasing amount of literature affirming that

biological males—even those who take puberty blockers and supplement their

hormones—will retain physiological advantages over biological females. 4 Despite

B.P.J.’s repeated assertions that medical interventions allow B.P.J. to “develop [the]

physiological characteristics” of a girl, Mot. to Stay 3, the evidence and peer-reviewed

studies do not support this with anything approaching certainty.

      Finally, while B.P.J. disclaims the possibility of competing on the boys’ team,

B.P.J. cannot ignore that sports teams are separated to accommodate the average

physiological differences between the sexes, not diverse gender identities. As this

Court itself noted, B.P.J. may participate on the boys’ team, even if B.P.J. has no

desire to do so. Op. 22; see also Gregor v. W. Va. Secondary Sch. Activities Comm’n,

No. 2:20-cv-00654, 2020 WL 5997057, at *3 (S.D.W. Va. Oct. 9, 2020). And unlike

bathrooms, many women and girls throughout West Virginia and the country have

long sought to compete on boys’ teams because they desire a higher level of



4 See Lidewij Sophia Boogers et al., Transgender Girls Grow Tall: Adult Height Is

Unaffected by GnRH Analogue and Estradiol Treatment, 107 The Journal of Clinical
Endocrinology & Metabolism no. 9 (Sept. 2022),
https://doi.org/10.1210%2Fclinem%2Fdgac349.

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competition. See O’Connor v. Bd. of Educ. of Sch. Dist. 23, 449 U.S. 1301 (1980). A

girl competing on the boys’ team need not be strange or uncomfortable because it is

far from a unique occurrence.

      Defendants acknowledge that this is a contentious issue fraught with

emotions. But that is one more reason for this Court to defer to West Virginia’s elected

representatives. See Andino, 141 S. Ct. at 10 (Kavanaugh, J., concurring). B.P.J. may

have a different view of how to balance the equities, but those public policy arguments

are better made to West Virginia legislators than this Court.

                                     CONCLUSION

      This Court should deny Plaintiff’s motion for stay pending appeal.




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  Respectfully submitted this 27th day of January, 2023.



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                    IN THE UNITED STATES DISTRICT COURT
                 FOR THE SOUTHERN DISTRICT OF WEST VIRGINIA
                            CHARLESTON DIVISION

 B.P.J., by her next friend and mother,
 HEATHER JACKSON,
                                       Plaintiff,
       v.
 WEST VIRGINIA STATE BOARD OF
 EDUCATION, HARRISON COUNTY BOARD
 OF EDUCATION, WEST VIRGINIA                            Case No. 2:21-cv-00316
 SECONDARY SCHOOL ACTIVITIES
 COMMISSION, W. CLAYTON BURCH in his
 official capacity as State Superintendent,            Hon. Joseph R. Goodwin
 DORA STUTLER in her official capacity as
 Harrison County Superintendent, and THE
 STATE OF WEST VIRGINIA,
                                    Defendants,
       v.
 LAINEY ARMISTEAD,
                          Defendant-Intervenor.

                             CERTIFICATE OF SERVICE

      I, Brandon Steele, hereby certify that on January 27, 2023, I electronically

filed a true and exact copy of Defendants’ Response to Plaintiff’s Motion for a Stay

Pending Appeal of January 5, 2023 Orders with the Clerk of Court and all parties

using the CM/ECF system.
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